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                         EXHIBIT A
                 Case 1:24-mc-91609-LTS                        Document 1-2                Filed 11/25/24               Page 2 of 10
 AO 885 (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                              District of Massachusetts
                     PW Rentals Ltd., et al,
                                Plaintiff
                                    ,                                                    Civil Action No,
                      Auction MVobility LLC


                              Defendant

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                     Auction Mobility LLC
 To:

                                                   - (Name of person to whom this subpoena is directed)

      Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
materialS•ee Schedule A


  Place:Fitch Law Partners LLP                                                           Date and Time:
        84 State Street, 11th Fioor
        Boston, MA 02109                                                                       9:00 a.m 30 days after service of this subpoena


      l7 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
'other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                 Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                   CLERK OF COURT
                                                                                              OR

                                            Signature of Clerk or Deputy Clerk       A    t   t    o   r   n   e    y    '   s      signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) P W Rentals, 1251237
Alberta Ltd., 1218172 Alberta Ltd., Sliver Sky Rentals, Perry Wild and
Shilo Wild                             ,                                  who issues or requests this subpoena, are:
Stephen Garvey, Fitch Law Partners LLP, 84 State Street 11th Floor, Boston MA 02109, skggfitchlp.com, 617-542-5542

                               Notice to the person who issues or requests this subpoena
I f th is subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. ay. P. 45.)

          I received this subpoena for (name of individual and title, i f any)

on (date)


          CI I served the subpoena by delivering a copy to the named person as follows:


                                                                                          On (date)                   ;                 Of

          CI I returned the subpoena Onexecuted because:


          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, 1 have also
          tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are $             f        o         r        travel and $                              for services, for a total of $              0


          1declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server's signature



                                                                                                 Printed name and title




                                                                                                    Server's address

Additional information regarding attempted service, etc.:




                                                                                 I U
                Case 1:24-mc-91609-LTS                          Document 1-2               Filed 11/25/24              Page 4 of 10
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Infonnation, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 1211/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert's opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C)Spect#ing conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (I) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                     otherwise met without undue hardship, and
      (ii) is commanded to attend a trial and would not incur substantial              (H) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
  (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
  (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) F011n for Producing Electronically Stored Information Not Specified.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney            If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees—on a party or attorney who           information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
  (2) Command to Produce Materials or Permit Inspection.                          from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required, A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to            (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. Ilan objection is made,            (i) expressly make the claim; and
the following rules apply:                                                             (H) describe the nature of the withheld documents, communications, or ,
      (i) At any time, on notice to the commanded person, the serving party       tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. I f information produced in response to a
      (II) These acts may be required only as directed in the order, and the      subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (H) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. p e r s o n who
specified in Rule 45(c),                                                          produced the information must preserve the information until the claim is
     (III) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, faits without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                      SCHEDULE A

                                     DEFINITIONS


1. "Petitioners" means P.W. Rental Ltd., 1251237 Alberta Ltd., 1218172 Alberta Ltd., Silver

   Sky Rentals Ltd., Shilo Wild, and Perry Wild.

2. "The Petition" means Petitioners' Petition for Discovery in Aid of a Foreign Proceeding

   Pursuant to 28 U.S.C. § 1782.

3. "Weaver" means Weaver Bros Auctions Ltd. including, without limitation, all of its

   predecessors, successors, subsidiaries, divisions, parents or affiliates thereof, past or

   present, and all past or present officers, directors, agents, employees, consultants,

   representatives, partners, and any other person or entity acting on behalf of any of the

   foregoing.

4. "You" or "your" means Auction Mobility LLC, including, without limitation, all of its

   predecessors, successors, subsidiaries, divisions, parents or affiliates thereof, past or

   present, and all past or present officers, directors, agents, employees, consultants,

   representatives, partners, and any other person or entity acting on behalf of any of the

   foregoing.

5. The "Alberta Proceeding" means the civil action currently pending between Petitioners

   and Weaver filed on November, 18, 2021, by Petitioners with the Court of King's Bench

   in Alberta, Canada.

6. "Auction" means the auction held by Weaver between approximately September 24,

   2021, and approximately September 29, 2021, which sold items provided to Weaver by

   Petitioners and that forms the basis for the Alberta Action.
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  7. "Document" shall be construed under the broadest possible construction under Federal

     Rule of Civil Procedure 34 and Federal Rule of Evidence 1001. The term shall include,

     without limitation, any written, recorded, graphic, or other matter, however produced or

     reproduced and in any medium, and any other tangible item or thing of readable,

     recorded, or visual material, including all electronically stored information.

  8. "Communication" means any oral, written, or other contact between two or more persons

     or entities by which information is transmitted or conveyed, regardless of medium or

     format and including all electronically stored information,

  9, "Related," "related to," "defining," or "explaining," shall mean in whole or in part

     constituting, concerning, containing, involving, reflecting, describing, identifying,

     mentioning, referring directly or indirectly to, or in any way pertaining to.

  10. The terms "and" and "or" shall be construed either disjunctively or conjunctively as

     necessary to bring within the scope of the discovery requests all responses that might be

     otherwise excluded.

  11. The terms "any" and "all" shall be construed so as to include each other.

INSTRUCTIONS

  1. The following Document Requests seek discovery of all responsive material or

     information in any form.

  2. The Document Requests include all drafts or non-identical copies.

  3. I f you cannot respond to any Document Request in full, after all due diligence to secure

     responsive materials and information, you must respond to the extent possible and fully

     describe the reasons that you cannot respond fully.
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  4. The Document Requests include all responsive documents and things in your possession,

     custody, or control, or control of you or your agents, employees, or other representatives.

  5. Pursuant to Fed. R. Civ. P. 45(d), you shall produce responsive documents as they have

     been kept in the usual course of business or shall organize and label them to correspond

     to the enumerated requests below. If you have no documents responsive to a request, you

     must specify so in writing.

  6. I f any responsive document is withheld under a claim of privilege, you must pursuant to

     Fed, R. Civ, P. 45(d)(2) identify the nature of the privilege or work product being claimed

     and provide the following information: (1) the type of document; (ii) the general subject

     matter of the document; (iii) the date of the document; (iv) such other information as is

     sufficient to enable Petitioners to contest the claim of privilege or work product. If a

     portion of a document contains information subject to a claim of privilege or work

     product, only that portion shall be redacted, and the remainder shall be produced.

  7. I f any document responsive to these Document Requests has been, but is no longer, in

     your possession, custody, or control, because it has been destroyed, discarded, or other

     placed outside of your possession, custody, or control, you must provide a list identifying

     such materials including the following information: (i) the type of document; (ii) the

     general subject matter of the document (iii); the date of the document; (iv) the name(s)

     and address(s) of each person who prepared, received, viewed, and has had or has

     possession, custody, or control of the document.

DOCUMENT REQUESTS

  1, A l l documents, notifications, notices, or communications, sent to bidders in connection

     with the Auction.
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2. A l l documents concerning any actual or potential time extensions for the auction.

3. A l l documents concerning technical difficulties experienced by bidders in the Auction,

   such as but not limited to instances of bidders not being permitted to apply for

   registration to bid, or bidders not being to enter the online auction program.

4. A l l communications between you and Weaver related to the Auction, including but not

   limited to after the auction concluded.

5. A l l communications between you and Weaver concerning the auction held on June 15,

   2021, including but not limited to what issues occurred at that auction, potential

   resolutions of any issues, and what was done to resolve those issues.

6. Documents showing definitions of each of the headings found in the attached Document

   WEA000090.

7. A l l communications between you and Weaver related to the attached Document

   WEA000090.

8. A l l documents defining or explaining the column headings in the attached Document

   WEA000304.

9, A l l documents related to the Auction or the Alberta Proceeding,
                                                    Case 1:24-mc-91609-LTS                               Document 1-2                          Filed 11/25/24                         Page 9 of 10
                                                                                       Redacted


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5-60Q03     218000        11167        0 5-60P8P                   0 2021-09-29116:00:59.278Z            350                                                                                                                                                  web



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                        Case 1:24-mc-91609-LTS       Document 1-2             Filed 11/25/24         Page 10 of 10



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